UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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 UNITED STATES OF AMERICA,

                                              MEMORANDUM & ORDER
               -against-                         23-CR-82(EK)

 CARLOS WATSON and OZY MEDIA, INC.,

                     Defendants.

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ERIC KOMITEE, United States District Judge:

           Before the Court are two of Watson’s pretrial motions.

Watson moves to suppress any evidence obtained from a laptop and

two cell phones (the “Devices”) seized at the time of his

arrest.   He also moves for an order directing the U.S. Attorney

to remove from its website a press release that, he asserts,

impermissibly comments on his character, reputation, and guilt.

For the reasons set forth below, the motion to suppress is

denied.   The Court reserves decision on Watson’s request for the

removal or modification of the press release.

                 Motion to Suppress and Return Property

A.   Factual and Procedural Background

           The following recitation is primarily drawn from the

affidavits submitted by the parties in connection with this

motion.   The government submitted two affidavits sworn by FBI

Special Agent John Williams: one made in support of the

application for a warrant to search the three Devices (two Apple
iPhones and a MacBook Pro), see Williams Aff. ¶ 7, ECF No. 79-1,

and the second made in support of the application for GPS data

for Watson’s phone with a number ending in -7723 (the “7723

Number”).    See Williams GPS Aff. (“GPS Aff.”), ECF No. 79-2.

Watson did not initially file any affidavit in support of his

motion, but did so after the Court invited him to substantiate

any factual assertions made in his papers.           Watson Aff., ECF No.

86; see, e.g., United States v. Shaw, 260 F. Supp. 2d 567, 570

(E.D.N.Y. 2003) (an “affidavit of someone with personal

knowledge of the underlying facts” must support factual

assertions made in a suppression motion); United States v.

Gillette, 383 F.2d 843, 848–49 (2d Cir. 1967) (attorney’s

statement did not raise factual issue absent allegation of

personal knowledge). 1

            “[A]n evidentiary hearing on a motion to suppress

ordinarily is required if the moving papers are sufficiently

definite, specific, detailed, and nonconjectural to enable the

court to conclude that contested issues of fact going to the

validity of the search [or seizure] are in question.”             United

States v. Watson, 404 F.3d 163, 167 (2d Cir. 2005).            Watson has

not requested an evidentiary hearing.          Based on the parties’




      1 Unless otherwise noted, when quoting judicial decisions this order
accepts all alterations and omits all citations, footnotes, and internal
quotation marks.

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submissions, which raise no contested issues of material fact,

the Court concludes that a hearing is unnecessary.      See, e.g.,

United States v. Zimmerman, 480 F. Supp. 3d 446, 452 (E.D.N.Y.

2020) (declining to hold hearing where the “material facts

relevant to” the motion were “uncontroverted”).

     1.     Watson’s Arrest and the Seizure of the Devices

            Watson is the founder and CEO of Ozy Media (“Ozy”),

which is also a defendant in this case.    Indictment ¶ 1, ECF

No. 1.    Ozy was a media and entertainment company that produced

digital newsletters, podcasts, video content, and live events.

Id. ¶ 2.

            On February 22, 2023, a grand jury sitting in this

District returned an indictment charging Watson with securities

fraud conspiracy, wire fraud conspiracy, and aggravated identity

theft.    On the same day, the government obtained two warrants.

The first ordered Watson’s arrest.     See ECF No. 2.   The second

authorized law enforcement to obtain GPS location data for the

7723 Number for a period of thirty days.    Special Agent Williams

attested to his belief that the 7723 Number belonged to Watson,

given that certain witnesses, purported victims, and Watson’s

counsel had identified that number as having belonged to him

during the period of the charged conspiracy.    Subscriber records

also indicated that Watson had used, and was still using, that

number.    See GPS Aff. ¶¶ 1, 8.

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            The following morning, on February 23, FBI agents

located Watson at a hotel in midtown Manhattan, relying on GPS

data for the 7723 Number and physical surveillance to do so.

See Williams Aff. ¶ 8.      After informing the hotel’s staff of the

arrest warrant, the FBI agents — among them, Agent Williams —

received a key to Watson’s room.          See id. ¶ 9. 2

            After obtaining the key, the FBI went to Watson’s

hotel room door.     Standing outside, they called the 7723 Number

multiple times.     Williams Aff. ¶ 9.       Although agents could hear

a phone buzzing from where they stood outside the hotel room

door, no one answered.      Id. ¶ 9. 3    Agent Williams also attested

that the agents repeatedly knocked on the hotel room door and




      2 Special Agent Williams’s search warrant affidavit refers to the

arresting agents generally as the “FBI” and “FBI agents.” See id. ¶¶ 8–10.
In a supplemental affidavit filed in connection with this motion, Agent
Williams attested that he was present during Watson’s arrest. See Williams
Suppl. Aff. ¶ 3, ECF No. 87-1. The government also represents that FBI
records produced to Watson in discovery identify Agent Williams as the
seizing agent for each of the Devices. See Gov’t Mem. of Law in Response to
Mot. to Suppress (“Gov’t Opp’n) 8 n.4, ECF No. 79.

      3 In his motion papers, Watson indicated that he had a “white noise app
playing on his phone” (such that the agents could not have heard any
buzzing). Def. Mot. to Suppress (“Def. Mot.”) 3, 14, ECF No. 73. Because
Watson’s declaration in support of his motion makes no mention of this, see
generally Watson Aff., the Court disregards this factual allegation. See
Gillette, 383 F.2d at 848–49; United States v. Mottley, 130 F. App’x 508,
510 (2d Cir. 2005) (“[S]tatements on the matter submitted by [defendant’s]
attorney in his papers before the district court cannot by themselves create
a factual issue.”).

      In any case, even if credited, this allegation does not raise any issue
of material fact. The agents had more than adequate cause to believe Watson
was inside, given that they had tracked him to the hotel based on the 7723
Number and then identified his room with the assistance of hotel staff.


                                      4
announced themselves as the FBI.          See Williams Aff. ¶ 9.     When

(again) no one answered, the agents used the hotel room key to

access the room.     See id.

             Upon entering, FBI agents saw Watson sitting at the

hotel desk, in front of the laptop at issue, on what appeared to

be a video conference call.       See id. ¶ 10; Watson Aff. ¶ 3. 4

Agent Williams attested that Watson was holding one cell phone,

while another cell phone was located on the bed behind him,

“within reaching distance.”       See Williams Aff. ¶ 10.       The FBI

then placed Watson under arrest and seized the Devices.             Id.

¶ 11.    Watson similarly averred that when the agents handcuffed

him, one phone was “on the desk” and the other was “on the bed.”

Watson Aff. ¶ 4.     Neither the Williams Affidavit nor Watson’s

papers suggest that anyone else was with Watson in the hotel

room prior to his arrest.

        2.   Post-Arrest Procedure

             On February 28, five days after Watson’s arrest, the

U.S. Attorney’s Office submitted a draft application of a search

warrant for the Devices to the Department of Justice’s Criminal

Division.     See Williams Aff. ¶ 21 n.1; Gov’t Opp’n 21, ECF No.




      4 Watson’s motion asserts that he “was not sitting at the desk,” Def.

Mot. 14, but his affidavit indicates exactly otherwise. See Watson Aff. ¶ 3
(“I was sitting at my desk in my New York hotel room doing a video conference
on my computer . . . .”).


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79, Gov’t Suppl. Ltr. 5, ECF No. 87.         As the government has

since confirmed, this review process is dictated by DOJ policy

on obtaining information or records from members of the news

media.    See Gov’t Suppl. Ltr. 5 (citing 28 C.F.R. § 50.10); see

also Williams Aff. ¶ 21 n.1.        While that review was ongoing,

Watson moved for the return of the Devices pursuant to Rule

41(g) of the Federal Rules of Criminal Procedure.            Mar. 6, 2023

Conf. Tr. 22:6-23:10, ECF No. 29; see Def. Mar. 10, 2023 Letter,

ECF No. 33.    The DOJ approved the warrant application on March

13.   Gov’t Opp’n 21.     The government then submitted that

application to a magistrate judge on March 14, 5 and a warrant

authorizing the search of the Devices issued later that day.

            At the April 21 status conference, the Court directed

the parties to litigate all issues relating to the seizure and

search of the Devices, on a full record, as a motion to suppress

(rather than as a Rule 41(g) motion for return of property).

Apr. 21, 2023 Conf. Tr. 15:15–21, ECF No. 57.           Watson filed the

instant suppression motion on June 20, and at the Court’s

invitation, his supporting affidavit on August 9.            As of July 18

(the date of the government’s opposition), the search of the

Devices pursuant to the warrant remained ongoing.            See Gov’t




      5 The Williams Affidavit includes this relevant procedural history,
explicitly noting that Watson had moved under Rule 41(g) for the return of
the devices. See Williams Aff. ¶ 21 n.1.

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Opp’n 3.    In an October 25, 2023 status report letter to the

Court, the government indicated that it had produced, among

other things, data from Watson’s two seized phones.            ECF No. 95.

B.    Discussion

            Watson first asserts that the initial seizure of the

Devices was not supported by probable cause.           In doing so, he

appears to concede that the existence of probable cause would

have permitted the warrantless seizure of the Devices, pursuant

to one or more exceptions to the Fourth Amendment’s warrant

requirement. 6   Second, and separately, Watson asserts that the

government unreasonably delayed in obtaining the search warrant

after seizing the Devices.

      1.    The Agents Had Probable Cause to Seize the Devices
            Pursuant to Watson’s Arrest

            “In the ordinary case, the Court has viewed a seizure

of personal property as per se unreasonable within the meaning

of the Fourth Amendment unless it is accomplished pursuant to a

judicial warrant issued upon probable cause and particularly




      6 Somewhat confusingly, Watson’s arguments that the initial seizure

lacked probable cause primarily attack the Williams Affidavit, which was not
filed until nineteen days after his arrest. These arguments raised possible
timing issues, as what Agent Williams knew at the time of the seizure may
have differed from what he set forth in his search warrant affidavit. Agent
Williams, however, has since put this question to rest: he has attested that,
with few minor exceptions, he possessed knowledge of all the information set
forth in his affidavit at the time of the initial seizure. See Williams
Suppl. Aff. ¶ 5. Thus, the Court can rely on the uncontested information in
that Affidavit (among other information) to assess whether the agents had
probable cause for the initial seizure.


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describing the items to be seized.”     United States v. Place, 462

U.S. 696, 701 (1983).    The warrant requirement, however, “is

subject to certain reasonable exceptions.”     Kentucky v. King,

563 U.S. 452, 459 (2011).   Here, the government asserts two such

exceptions to justify the Devices’ seizure: plain view, and

search (and seizure) incident to arrest.

          Under the plain view doctrine, a law enforcement

officer may seize evidence without a warrant if: “(1) the

officer is lawfully in a position from which the officer views

an object, (2) the object’s incriminating character is

immediately apparent, and (3) the officer has a lawful right of

access to the object.”    United States v. Babilonia, 854 F.3d

163, 179–80 (2d Cir. 2017).    And under the exception for

searches and seizures incident to arrest, an officer may “search

for and seize any evidence [that is] on the arrestee’s person”

or in “the area within his immediate control” to “prevent its

concealment or destruction.”    Chimel v. California, 395 U.S.

752, 762–63 (1969); see also United States v. Smith, 967 F.3d

198, 205 (2d Cir. 2020) (“If the police have probable cause to

believe that the property contains contraband or evidence of a

crime and if it is necessary to seize or secure the property

immediately to prevent its destruction or disappearance, the

Fourth Amendment allows the police to seize or secure the

property without a warrant . . . .”).

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           The Second Circuit has made clear that these

exceptions apply to the warrantless seizure of electronic

devices, as long as the agents then obtain a warrant before

searching them.   See Babilonia, 854 F.3d at 179–80; Smith, 967

F.3d at 205; see also Riley v. California, 573 U.S. 373, 396

(2014) (upholding the warrantless seizure of a cell phone, but

requiring a warrant to search its contents).

           Watson does not contest that the Devices were visible

to the agents in his hotel room as they lawfully executed the

arrest warrant (plain view), or that the Devices were within his

reaching distance at the time of seizure (seizure incident to

arrest).   Instead, his challenge comes down to probable cause —

that is, whether the agents had reason to believe that the

Devices contained or constituted evidence of criminal conduct.

He advances two primary arguments on this score.     First, he

contends that the agents at the time of the seizure, as

evidenced in the Williams Affidavit, lacked sufficient

information linking Watson to the Devices and linking the

Devices to criminal activity.   Def. Mot. 6–8.     Second, he argues

that any information linking the Devices to purported criminal

wrongdoing was stale because the Indictment alleges a fraudulent

scheme ending in September 2021, or “nearly eighteen months”

before the Devices’ seizure.    See id. at 8–10.    Neither

argument, however, is convincing.

                                  9
             a.     The Facts Known to Agent Williams, Considered
                    with his Training and Experience, Established
                    Probable Cause

             Probable cause “exists where the facts and

circumstances within the officers’ knowledge and of which they

had reasonably trustworthy information are sufficient in

themselves to warrant a person of reasonable caution in the

belief that evidence of a crime will be found in the place to be

searched.”        Babilonia, 854 F.3d at 178.   This standard is lower

than the preponderance of the evidence, United States v. Juwa,

508 F.3d 694, 701 (2d Cir. 2007), and requires only a “fair

probability” that “evidence of a crime will be found in a

particular place.”        Illinois v. Gates, 462 U.S. 213, 238 (1983).

Probable cause “is a fluid concept — turning on the assessment

of probabilities in particular factual contexts — not readily,

or even usefully, reduced to a neat set of legal rules.”          Id. at

232.

             Information supporting probable cause must establish

“a sufficient nexus between the criminal activities alleged” and

the object of the search.        See United States v. Singh, 390 F.3d

168, 182 (2d Cir. 2004).       That showing “does not require direct

evidence and may be based on reasonable inference from the facts

presented based on common sense and experience.”         Id.   Moreover,

as the Second Circuit has consistently recognized, “a law

enforcement officer’s experience and training may permit the

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officer to discern probable cause from facts and circumstances

where a layman might not.”   Babilonia, 854 F.3d at 178; see

United States v. Fama, 758 F.2d 834, 838 (2d Cir. 1985) (“[A]n

agent’s expert opinion is an important factor to be considered

by the judge reviewing a warrant application.”).

          Even before consideration of the agent’s expertise and

experience, common sense dictates that evidence of a complex,

long-duration financial fraud are likely to be found on the

electronic devices of the alleged leader of that activity.

Moreover, courts have repeatedly relied on agents’ training and

experience with electronic devices and the criminal conduct at

issue generally — taken together with information known about a

specific defendant’s conduct — to find the existence of probable

cause for the seizure of electronic devices.   See, e.g.,

Babilonia, 854 F.3d at 180–81; United States v. Gatto, 313 F.

Supp. 3d 551, 559 & n.44 (S.D.N.Y. 2018).

          Thus, as one example, officers investigating a

narcotics trafficking conspiracy had probable cause to search

the defendant’s cell phone, based on the “circumstances leading

up to and surrounding [the defendant’s] arrest” and the agents’

experience that “individuals involved in narcotics trafficking

typically use cellular phones to communicate and store

information and other records on their phones.”    United States

v. Barret, 824 F. Supp. 2d 419, 448 (E.D.N.Y. 2011).

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          Likewise, probable cause to seize devices has been

established based on, among other evidence, an agent’s “expert

opinion” that “individuals who engage in wire fraud, bank fraud

and money laundering activities commonly use phones, computers,

or other electronic devices to access websites used for illegal

activity, to communicate with victims and co-conspirators

online, and to store records relating to transactions” and

knowledge that such individuals “often store data on their

computers related to their illegal activity.”   See United States

v. Ukhuebor, No. 20-MJ-1155, 2021 WL 1062535, at *2–3.

Similarly, a defendant’s iPhone and iPod Touch, seized at the

time of his arrest, “were immediately identifiable as evidence

of criminal conduct” because “law enforcement suspected [his]

involvement in racketeering and narcotics conspiracies,” whose

members, the agents had learned, “used cellular phones and

social media to facilitate their criminal acts.”   See United

States v. Meregildo, No. 11-CR-576, 2012 WL 4378047, at *4

(S.D.N.Y. Sept. 24, 2012) (upholding warrantless seizure under

plain view doctrine).

          Against this backdrop, the information known to Agent

Williams at the time of the seizure supports a finding of

probable cause.   First, Agent Williams had knowledge of both the

nature of Watson’s purportedly criminal conduct and his use of

electronic communications in connection with that conduct.   As

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set forth in the Williams Affidavit (and known to Agent Williams

at the time of the Devices’ seizure), between 2018 and 2021,

Watson repeatedly sent and received emails containing

purportedly fraudulent information, as well as emails containing

information contradicting the statements he had made to

investors.     See Williams Aff. ¶ 13 (citing to the Indictment

allegations). 7    Watson also sent and received text messages

discussing the purported scheme, including text messages where

he instructed co-conspirators regarding statements to make to

victims.     See id. ¶ 14.    Such emails, text messages, documents,

calendar entries, and other data — which can be stored on

electronic devices for several years — would constitute evidence

of the charged crimes.       Id. ¶¶ 13-16.

             Second, Agent Williams had probable cause to believe

that the Devices in Watson’s hotel room, in particular,




       7 Agent Williams does not assert personal knowledge as to these facts,

but instead “adopt[s] and incorporate[s]” the Indictment, which he attaches
to his affidavit and the warrant application. Id. ¶ 6. Watson does not
argue that the Court should ignore these allegations in making a probable
cause determination because they came from the Indictment; instead, he only
asserts that such allegations are too stale to be considered, as discussed
below.

      While the Second Circuit apparently has not resolved this question,
numerous district courts have considered indictments’ allegations in
evaluating probable cause. See, e.g., United States v. Feng Ling Liu, No. 12
Cr. 93, 2014 WL 101672, at *5 (S.D.N.Y. Jan. 10, 2014) (collecting cases in
which courts relied on indictments to assess probable cause); see also United
States v. Lahey, 967 F. Supp. 2d 698, 726 n.33 (S.D.N.Y. 2013) (“[C]ase law
suggest[s] that the fact that the Grand Jury had already returned the
Indictment against [the defendant] . . . , without more, supports probable
cause to search his residence.”).

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contained relevant electronic evidence.          According to Agent

Williams, people commonly maintain the same electronic devices

over a period of years.       See id. ¶ 13.     Indeed, this turned out

to be the case for the device with the 7723 Number, which had

been associated with Watson since at least 2003, see GPS Aff.

¶ 8, and from which agents obtained the GPS data used to locate

Watson at the hotel. 8     Williams knew, moreover, that Watson used

the 7723 Number to conduct Ozy-related business.            As he

attested, certain “witnesses and victims” of the alleged scheme

identified the 7723 Number as a number they used to communicate

with Watson and turned over to the government copies of text

messages sent from that number in connection with its

investigation.     See GPS Aff. ¶¶ 1, 8.

            Moreover, Williams attested that he knew, based on his

training and experience, that even if users change or upgrade

devices, they often transfer data — like text messages and

emails — from one device to another by “back[ing] up and

sync[ing] data” among one or more devices.          See Williams Aff.

¶¶ 13–14.    Emails can be stored in multiple places if a person

accesses his email account on multiple devices; similarly,

emails that predate a newer device may still be found on it if

the user accesses the email account from that newer device.              See



      8 For this reason, the Court finds immaterial the dispute over whether
Williams could hear the 7723 Number cellphone ringing in Watson’s hotel room.

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id. ¶ 13.     Finally, Agent Williams attested to his knowledge,

based on public reporting, of Watson’s much more recent attempts

to solicit additional investments for Ozy.          See Williams Suppl.

Aff. ¶ 5(a); see also Williams Aff. ¶ 18. 9        According to

Williams, text messages, emails, documents, and other data

relating to Watson’s efforts would be evidence of continued

fraudulent conduct, if he used the same or similar techniques

that he used as alleged in the Indictment (including by denying

his own participation in any prior misconduct at Ozy).            See

Williams Aff. ¶ 18; Williams Suppl. Aff. ¶ 5(a).

            Taken together, these facts established at least a

“fair probability” that evidence of the crimes under

investigation would be found on each of the Devices.            Gates, 462

U.S. at 232.    Watson’s assertions that Williams possessed no

information linking Watson to the Devices and no information

linking the Devices to criminal activity are therefore

unavailing.    Here, “reasonable inferences from the facts

presented,” based on “common sense and experience” regarding the

nature and use of electronic devices, support the finding that



     9  The Williams Affidavit in support of the search warrant application
cites to two newspaper articles regarding Watson’s attempts to solicit
additional investments — one published on February 9, 2023 and the other
published on February 23, 2023 after Watson’s arrest earlier that day.
Williams Aff. ¶ 18. In his supplemental affidavit, Agent Williams attested
that he did not specifically recall whether he had reviewed the February 9
article prior to Watson’s arrest, but “was aware” generally of Watson’s
recent efforts “according to public reporting.” Williams Suppl. Aff. ¶ 5(a).


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Agent Williams had reason to believe that the Devices contained

evidence of alleged criminal activity.    See Singh, 390 F.3d at

182; see also United States v. Brown, 676 F. Supp. 2d 220, 228

(S.D.N.Y. 2009) (“This Court is entitled to rely on . . . the

commonsense notion that an individual engaged in a conspiracy

may have evidence of that conspiracy, including telephone

numbers and other contact information, located . . . on

communication devices used by the individual.”).

          Watson argues that, in order to seize the Devices, the

Fourth Amendment required the government to have had probable

cause to believe that the Devices seized were the same ones used

during the alleged scheme.   In Babilonia, however, the Second

Circuit considered and rejected a similar argument.    There, the

defendant asserted that “the ubiquity of cell phones and the

fact that he was arrested in his home preclude a finding that

the incriminating character of the phones and tablet was

immediately apparent.”    See 854 F.3d at 180.   Instead, the Court

declined to require direct or conclusive proof, at the time of

seizure, that the particular devices would provide evidence of

criminality.   Id.   Instead, the Court upheld the seizure after

applying the standard plain view doctrine.   Among other indicia

supporting probable cause in that case, the agent’s

investigation revealed the defendant’s use of numerous cell

phones in connection with his criminal activity, and the agent

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attested that, in his experience, cellphone address books

usually contain contact information for associates.    Id.

          Numerous district courts have reached a similar

conclusion, requiring only that agents have probable cause to

believe that the defendant used some electronic device in

connection with the criminal conduct and that the seized device

belonged to the defendant.   See, e.g., United States v.

Chierchio, No. 20-CR-306, 2022 WL 523603, at *11 (E.D.N.Y. Feb.

22, 2022) (rejecting argument that “the government could not

have been sure that the phone it saw on [defendant’s] countertop

at the time of his arrest was the one it suspected was involved

in criminality”).

          For example, sufficient cause supported the seizure

and search of two phones obtained incident to a defendant’s

arrest, where the supporting affidavit both set out the agent’s

belief (based on his experience with narcotics crimes) that the

phones contained relevant information and provided evidence that

the defendant “used at least one cellphone” to communicate with

a co-conspirator.   See United States v. Arias-Casilla, No. 21-

CR-218, 2022 WL 2467781, at *4 (S.D.N.Y. July 6, 2022).      From

this information, a magistrate could “conclude that any phones

seized from Defendant’s person incident to arrest would contain

evidence . . . even if the Affidavit does not specifically

reference communications from each phone.”   Id.   Similarly, a

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court had little trouble concluding that the arresting officers

had probable cause to believe that two iPhones and a laptop

seized incident to the defendant’s arrest “contained evidence of

[his] participation in the scheme to defraud, where “the arrest

warrant include[d] allegations that [the defendant] sent and

received text messages and email communications in connection

with the fraud.”   United States v. Sharma, No. 18-CR-340, 2019

WL 3802223, at *6 (S.D.N.Y. Aug. 13, 2019) (upholding

warrantless seizure under plain view and seizure incident to

arrest exceptions).

           This principle has only garnered more force as

smartphone operating systems (like Apple’s) have incorporated

the capability to synchronize text and email accounts across

devices.   And the principle is appropriately invoked here.   At

the time of the Devices’ seizure, Agent Williams knew that

Watson’s alleged (and potentially ongoing) criminal conduct

involved sending and receiving electronic communications and

other data.   That Agent Williams may not have specifically known

whether Watson used multiple cell phones or devices in

furtherance of that conduct, cf. Babilonia, 854 F.3d at 180,

does not obviate a finding of probable cause as to each Device

seized — particularly given that Agent Williams had reason to

believe, based on his experience with backing up and syncing

data, that the Devices could contain relevant evidence.

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            b.   The Information Supporting Probable Cause Was Not
                 Stale

            Next, Watson argues that the only specific information

regarding Watson’s criminal conduct is stale because it came

from the Indictment, which alleged a fraudulent scheme “that

occurred from August 2018 to September 2021” — thus, ending

“nearly eighteen months” before the Devices’ seizure.      Def. Mot.

8–10.    For many of same reasons discussed above, however, this

argument is without merit.

            The facts supporting probable cause “must be

sufficiently close in time to the issuance of the warrant and

the subsequent search conducted so that probable cause can be

said to exist at the time of the search and not simply as of

some time in the past.”    See United States v. Wagner, 989 F.2d

69, 75 (2d Cir. 1993).    While there is no “bright-line rule for

staleness,” the “two critical factors” are “the age of the facts

alleged” and the “nature of the conduct alleged to have violated

the law.”    United States v. Raymonda, 780 F.3d 105, 114 (2d Cir.

2015).    When the “facts supporting [probable cause] present a

picture of continuing conduct or an ongoing activity,” however,

“the passage of time between the last described act and the

presentation of the application becomes less significant.”

United States v. Martino, 664 F.2d 860, 867 (2d Cir. 1981).       A

court may also consider “the kind of property sought” in


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assessing whether an affidavit establishes probable cause.

Singh, 390 F.3d at 181.

          First, regarding the kind of property sought, the

electronic data at issue — including texts, emails, and online

documents — is “not temporary in nature or likely to dissipate

over the intervening time.”    United States v. LaMorte, 744 F.

Supp. 573, 576 (S.D.N.Y. 1990).    Thus, while “[s]taleness is

highly relevant” to the probable cause inquiry “for a perishable

or consumable object, like cocaine,” it “is rarely relevant when

it is a computer file.    Computer and computer equipment are not

the type of evidence that rapidly dissipates or degrades.”

United States v. Seiver, 692 F.3d 774, 777 (7th Cir. 2012).

Instead, digital “records and documents are more apt to remain

in one place for extended periods, and likely to remain long

after the defendant’s criminal activity may have ceased.”

United States v. Yu, No. 22-CR-208, 2023 WL 4687970, at *4

(E.D.N.Y. July 21, 2023) (two-year age of information in support

of search for physical and digital records and communications in

murder-for-hire conspiracy not stale).   The nature of electronic

data storage — including the practices of backing up data and

syncing it across devices — therefore supports the finding that

the information known to Agent Williams was not stale.

          Second, regarding the passage of time and nature of

the criminal conduct, Agent Williams seized the Devices for

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evidence of Watson’s purported criminal conduct — which, as set

forth in the Indictment, involved a scheme to defraud Ozy’s

investors over a three-year period from 2018 to 2021.   Even

assuming that the only information known to Agent Williams

related to conduct that was at least eighteen months old, the

“ongoing and long-term nature” of the scheme counsels against

any finding of staleness.   Singh, 390 F.3d at 181-82 (twenty-

month-old information about a healthcare scheme not stale); see,

e.g., United States v. Rowell, 903 F.2d 899, 903 (2d Cir. 1990)

(no staleness from eighteen-month delay between the informant’s

statement and wiretap application in a narcotics conspiracy);

United States v. Wells, No. 20-CR-633, 2021 WL 5401494, at *5

(S.D.N.Y. Nov. 18, 2021) (fourteen-month-old information about

bank fraud and identify theft activity that “span[ed] many

months” and “was part of a broader pattern of fraudulent

conduct” not stale).   And Agent Williams also attested that, at

the time of the seizure, he had reason to believe that Watson

was endeavoring to raise additional capital on Ozy’s behalf.

See Williams Aff. ¶ 18; Williams Suppl. Aff. ¶ 5(a).    Given the

Indictment’s detailed allegations about (a) Ozy’s extensive

financial difficulties and (b) the protracted prior efforts by

Watson and others to raise capital through false claims,

fabricated documents, and even the impersonation of a third-

party executive, Williams’ two affidavits, together with the

                                21
Indictment incorporated therein, established a fair probability

that relevant evidence would be present on the Devices.

          In short, given the qualities of the electronic

evidence sought and the long-term and ongoing nature of criminal

conduct at issue, the passage of time as to some of the

information known to Agent Williams did not render the facts

supporting probable cause stale.

          The two cases that Watson cites are distinguishable.

The first did not involve a seizure and search of electronic

devices, but instead the search of the defendant’s apartment for

evidence of illegal drug activities.    United States v.

Kortright, No. 10-CR-937, 2011 WL 4406352, at *6–7 (S.D.N.Y.

Sept. 13, 2011).   In that case, the warrant affidavit contained

“no allegation of any criminal activity in or around the

Apartment,” but instead relied only on an expert opinion that

“narcotics traffickers maintain evidence of their crimes in

their homes.”   Id.   The information that the defendant sold

narcotics a “handful” of times during a two-month period “a full

year” earlier was too stale to justify the apartment search.

Id.

          The second involved the search for a cell phone, but

little else similar to the instant facts.   In that (out-of-

circuit) case, the police sought a warrant to search the

defendant’s girlfriend’s home for his cell phone, in connection

                                 22
with a murder committed over a year earlier.           See United States

v. Griffith, 867 F.3d 1265, 1268 (D.C. Cir. 2017).            Concluding

that the warrant was not supported by probable cause, the D.C.

Circuit explained that, among other issues, “the warrant

application provided virtually no reason to suspect that

Griffith in fact owned a cell phone, let alone that any phone

belonging to him and containing incriminating information would

be found in the residence.”         Id. at 1270.   The D.C. Circuit

further observed that, even if the defendant had used it to

communicate with co-conspirators at the time of the crime, the

government provided no reason to believe that the defendant

would retain the same phone after ten months of confinement, or

that he would not have taken the “ample opportunity to delete

incriminating information from the device by the time of the

search.”    Id. at 1274.    By contrast, Williams had both specific

information that Watson used electronic devices in furtherance

of his alleged criminal conduct and reason to believe that such

electronic data would be on the Devices seized. 10

                                *     *     *



      10In Griffith, moreover, the D.C. Circuit rejected the government’s
argument that “because nearly everyone now carries a cell phone, and because
a phone frequently contains all sorts of information about the owner’s daily
activities, a person’s suspected involvement in a crime ordinarily justifies
searching her home for any cell phones.” Id. at 1275. As Judge Garaufis
observed in Chierchio, however, the Second Circuit’s reasoning in Babilonia —
discussed above — effectively forecloses such arguments about the effect of
the “ubiquity of phones” on the probable cause analysis. See Chierchio, 2022
WL 523603, at *11.

                                      23
          In short, based on the specific facts known to Agent

Williams at the time of Watson’s arrest, the agents had probable

cause to seize the Devices — whether under the plain view or

search and seizure incident to arrest exception.

     2.   The Government Did Not Unreasonably Delay in Obtaining
          a Warrant

           Watson next argues that, even if the temporary

seizure was appropriate, the government unreasonably delayed in

obtaining a warrant to search the Devices.   Def. Mot. 10–13.

While “[i]t is common for the police to temporarily seize a

suspect’s personal property if they have probable cause and

intend to apply for a warrant to search the property for

evidence of a crime,” “the Fourth Amendment requires that they

act with diligence to apply for a search warrant.”   Smith, 967

F.3d at 202.   Thus, “even a seizure based on probable cause is

unconstitutional if the police act with unreasonable delay in

securing a warrant.”   United States v. Martin, 157 F.3d 46, 54

(2d Cir. 1998).   In assessing whether a delay is unreasonable,

courts consider the following factors: “(1) the length of the

delay, (2) the importance of the seized property to the

defendant, (3) whether the defendant had a reduced property




                                24
interest in the seized item, and (4) the strength of the state’s

justification for the delay.”     Smith, 967 F.3d at 206.

           a.   Length of Delay

           The first factor, the length of delay, is neutral

here.   The parties do not dispute that the Devices were seized

on February 23, and the warrant authorizing their search was

signed on March 14 — nineteen days later.    Six of these days

were weekends and therefore may be discounted.     See Martin, 157

F.3d at 54; accord United States v. Kamaldoss, No. 19-CR-543,

2022 WL 1200776, at *16 (E.D.N.Y. Apr. 22, 2022).    In Martin,

the Second Circuit found an eleven-day delay acceptable,

although it acknowledged that such a delay might be unreasonable

in some circumstances, see 157 F.3d at 54, while the Smith court

concluded that a month-long “delay well exceeds what is

ordinarily reasonable.”   967 F.3d at 207.    Kamaldoss presents

the closest post-Smith comparison identified by the parties, in

which a delay of fifteen days (eleven business days) in that

case did “not weigh against the government.”    2022 WL 1200776,

at *16; cf. United States v. Wells, No. 20-CR-633, 2023 WL

2223474, at *3 (S.D.N.Y. Feb. 23, 2023) (finding twenty-nine-day




                                  25
delay that encompassed the Thanksgiving holiday weighed in favor

of the defendant, “but only to a slight degree”).

           Given these data points, the nineteen-day delay —

thirteen business days — weighs in favor of neither the

government nor the defendant.

           b.   Importance of the Property Seized

           The second factor, the importance of the seized

property to the defendant, weighs only slightly in favor of

Watson.   In this more fact-intensive inquiry, the “starting

point” is the “nature of the property seized.”      Smith, 967 F.3d

at 207.   Courts also consider any testimony about the use and

particular significance of the device; whether the defendant had

“alternative electronic devices that could serve the same

functions” as those seized; and whether the defendant requested

the return of the seized property.   See id. at 208; United

States v. Corbett, No. 20-CR-213, 2021 WL 4480626, at *5

(E.D.N.Y. Sept. 30, 2021).

           As the Supreme Court and Second Circuit have

recognized, “special” privacy and possessory concerns apply to

“people’s personal electronic data and communication devices.”

Smith, 967 F.3d at 207–08.   “Modern cell phones, as a category,

implicate privacy concerns far beyond those implicated by the

search[es]” of ordinary personal effects, Riley, 573 U.S. at

393, due to the “immense storage capacity of modern cell phones

                                26
and how people commonly use them to store vast amounts of highly

personal information.”   Smith, 967 F.3d at 208.     These concerns

apply to a similar degree to a laptop.     See id.   Watson also

specifically requested that the government return the Devices,

see id., and he remains in a position (on pretrial release) to

use them were the government to return them.     Cf. United States

v. Tisdol, 544 F. Supp. 3d 219, 226 (D. Conn. 2021) (finding

diminished importance of the defendant’s cell phone because “he

was incarcerated and would not have been able to access it even

if it had not been seized”); Corbett, 2021 WL 4480626, at *5

(same).

          Notwithstanding the generalized concerns that cell

phones and electronic devices implicate, several facts diminish

those concerns as applied in this case.    First, Watson has been

relatively “spare in detail” regarding the “use and particular

significance” of the devices to him.     Smith, 967 F.3d at 208;

see also Corbett, 2021 WL 4480626, at *5 (describing the privacy

and possessory concerns relating to “personal electronic

devices” (emphasis added)).   Beyond noting that the Devices were

“important enough” to travel with, see Def. Mot. 11, Watson

initially provided no detail regarding the nature of the Devices

at all.

          Only more than five months later, and only at the

Court’s invitation, did Watson provide some — though not much —

                                27
additional color on the importance of the Devices.            He does not

specify whether he purchased the Devices personally or whether

they are the property of Ozy, apart from using the word “my” to

modify his references to the Devices. 11        He does attest that the

“phones” — plural — “are of personal importance” to him, even if

he does not explicitly profess ownership.          They contain records

regarding his ailing father’s various medications and doctors;

this information is not stored elsewhere, and his father’s care

has been impacted as a result.        Watson Aff. ¶¶ 7–9.      Watson also

avers that the phones contain various sentimental photos,

voicemails, and videos of his family members (including several

who have passed away), with no copies existing elsewhere to “the

best of” his knowledge. 12     In short, these attestations shed

little more light on the nature of the Devices — for example,

whether they were primarily intended for personal or business

use — or for what purposes Watson used them. 13         Watson also does




      11Watson uses the word “my” colloquially elsewhere in his Declaration,
referring, for example, to the hotel room desk — which he presumably does not
own — as “my desk.” Watson Aff. ¶¶ 3–4; see also id. ¶ 3 (“my New York hotel
room” and “my door”).

      12 Watson does “not believe that any of [the Devices] are fully backed-

up to ‘the cloud,’” id. ¶ 5, but he does not say what — if any — steps he has
taken to ascertain such information.

      13 The Court takes seriously Watson’s suggestion that his 89-year-old

father’s care has been affected by the Devices’ seizure. Watson does not say
how such care has been affected, however, and he raised this issue for the
first time more than five months after the seizure.



                                      28
not specify which phone held which information, nor does he say

anything specific about the personal data that the laptop might

hold. 14

             Second, the government also indicates that Watson

continued to have access to “alternative electronic devices”

following the Devices’ seizure, see Smith, 967 F.3d at 208,

pointing to first-person Tweets sent from his Twitter handle on

the day after his arrest.      See Gov’t Opp’n 22.      Watson does not

contest this assertion.

             In sum, given Watson’s privacy and possessory concerns

in the Devices, which are diminished in part by the

circumstances in this case, this factor weighs modestly in favor

of Watson.

             c.   Reduced Property Interest in the Seized Items

             The third factor, whether the defendant had a reduced

property interest in the seized items, favors the government.

This factor favors the government where probable cause existed

to lawfully seize a defendant’s phones at the time of his

arrest.    See Smith, 967 F.3d at 208-09; Corbett, 2021 WL

4480626, at *6.    “The state has a stronger interest in seizures


      14
        In the same vein, the government’s April briefing on Watson’s Rule
41(g) motion contended that he had failed to “offer any testimony regarding
the importance of the Devices.” Gov’t Sur-reply 10, ECF No. 48. Despite
being put on notice of this apparent deficiency, Watson’s motion was silent
on this topic. See Gov’t Opp’n 22. Only at the Court’s later invitation did
Watson submit a declaration in which he finally included some specific
details regarding the Devices.

                                     29
made on the basis of probable cause than in those resting only

on reasonable suspicion” and “all else being equal, the Fourth

Amendment will tolerate greater delays after probable-cause

seizures.”        Smith, 967 F.3d at 209.    Some courts, moreover, have

suggested that the weight given to this factor turns on the

strength of the probable cause determination.          See, e.g., In re

Application for Search Warrant, 527 F. Supp. 3d 179, 186 (D.

Conn. 2020); Wells, 2023 WL 2223474, at *5 (noting “strong

probable cause” existed where the defendant was subject to an

ongoing criminal investigation involving text messages and phone

calls exchanged in furtherance of illegal conduct).

             Such is the case here.       Because, as set forth above,

the government had probable cause — and then some — to seize the

Devices, Watson had a reduced property interest in them.           This

factor therefore weighs in favor of the government.

             d.     Justification for the Delay

             The fourth factor, the justification for the delay,

relatively strongly weighs in favor of the government.

According to the government, the nineteen-day total delay in

obtaining the search warrant stemmed from the DOJ’s policy

regarding obtaining information from or records of members of

the news media, like Watson.        See 28 C.F.R. § 50.10.    In

accordance with this policy, the government asserts, the warrant

application required both: (a) personal (written) approval by

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the U.S. Attorney for this District, and (b) authorization by a

Deputy Assistant Attorney General for the Criminal Division at

Main Justice — with layers of intermediate review and approval

in between.   See Gov’t Suppl. Ltr. 5 (citing 28 C.F.R. §

50.10(n)(1) and 28 C.F.R. §§ 50.10(d)(1), (2)).

          Watson argues that the prosecution team cannot justify

its delay by pointing to a bureaucratic policy requiring review

by another part of the Department of Justice.   The government is

correct, however, that discounting this justification would

yield a perverse outcome.   In light of the government’s stated

interest in according some protection to newsgathering efforts,

there is additional justification here for the time it took to

present the search warrant to the magistrate judge.   In other

words, “this is not a case in which the government provided no

explanation for its delay and did not show any sense of urgency

in obtaining a search warrant.”    United States v. Howe, 545 F.

App'x 64, 66 (2d Cir. 2013); cf. Smith, 967 F.3d at 210–11

(factor weighed in defendant’s favor where the delay stemmed not

from “any particular investigation or police duty,” but instead

the officer’s “generally heavy caseload”).

          Given the defense-friendly explanation for the delay

(i.e., the desire to protect press independence) and the

timeline here — five days to obtain U.S. Attorney approval, and



                                  31
another thirteen to obtain Deputy Assistant Attorney General

authorization — this factor weighs in favor of the government.

          e.   Balancing the Factors and the Good-Faith Doctrine

          In sum, the first factor is neutral; the second factor

weighs somewhat in favor of Watson; and the third and fourth

factors tilt in favor of the government.     Under these

circumstances, the government did not unreasonably delay in

obtaining a warrant after seizing the Devices.

          Moreover, even if the nineteen-day delay here violated

the Fourth Amendment, suppression would not be warranted.       “Not

every violation of the Fourth Amendment justifies invocation of

the exclusionary rule to require suppression of evidence.”

Smith, 967 F.3d at 211.    Instead, the exclusionary rule, an

equitable remedy designed to deter misconduct by law

enforcement, “applies only if the police have violated the

Constitution deliberately, recklessly, or with gross negligence,

or if a constitutional violation is the product of recurring or

systemic negligence.”     Id.   In Smith, although the delay was

unreasonable, the exclusionary rule did not apply because the

record did not indicate “any deliberate, reckless, or grossly

negligent disregard” for the defendant’s rights, and the delay

was an “isolated act of negligence” that “did not afford the

police any strategic advantage” in the case.      Id. at 212.



                                   32
            So too here: The record does not demonstrate that the

government’s delay was “deliberate, reckless, or grossly

negligent,” or the result of “systemic or recurring negligence.”

See Corbett, 2021 WL 4480626, at *7.         Rather, the record

reflects that the government acted with the requisite diligence,

in compliance with the applicable DOJ regulations, in applying

for and obtaining a warrant.

            For the reasons set forth above, Watson’s motion to

suppress and for the return of the Devices is denied.

              Motion to Require Removal of the Press Release

A.    Factual and Procedural Background

            On February 23, 2023, the U.S. Attorney’s Office (the

“USAO”) issued a press release regarding the Indictment. 15            That

release, which remains available on the USAO’s website, sets

forth the charges and a short summary of factual allegations.

It also includes the following statement from the United States

Attorney:

      “As alleged, Carlos Watson is a con man whose business
      strategy was based on outright deceit and fraud — he
      ran Ozy as a criminal organization rather than as a
      reputable media company,” stated United States
      Attorney Peace. “Investment fraud undermines
      confidence in our nation’s markets and investors and
      makes it harder for honest businesses to compete. Our


      15 See Press Release, U.S. Att’y’s Office for E.D.N.Y., Ozy Media and

Its Founder Carlos Watson Indicted in a Years-Long Multi-Million Dollar Fraud
Scheme (Feb. 23, 2023), https://www.justice.gov/usao-edny/pr/ozy-media-and-
its-founder-carlos-watson-indicted-years-long-multi-million-dollar-fraud.


                                      33
     Office and the Department of Justice have made it
     clear that prosecuting corporations and their corrupt
     executives who flagrantly violate the law are top
     priorities.”

          Watson has moved for an order directing the USAO to

“remove” the U.S. Attorney’s statement.   Def. Mar. 10, 2023

Letter 5–6.   He asserts that the U.S. Attorney’s remarks amount

to improper commentary on Watson’s “character” and impermissibly

opine on his (and Ozy’s) guilt.    Id. at 3–5; see Def. Apr. 7,

2023 Reply 8–10, ECF No. 45.

B.   Legal Standards

          Watson invokes three “independent but related rules”

as the bases for his requested relief: this District’s Local

Criminal Rules, New York State’s Rules of Professional Conduct,

and the DOJ’s internal regulations.

          “Local rules have the force of law, as long as they do

not conflict with a rule prescribed by the Supreme Court, Congress,

or the Constitution.”   Contino v. United States, 535 F.3d 124, 126

(2d Cir. 2008).   Rule 23.1(a) of the Local Criminal Rules for the

United States District Courts of the Southern and Eastern Districts

of New York provides:

     It is the duty of the lawyer. . . not to release or
     authorize the release of non-public information or
     opinion which a reasonable person would expect to be
     disseminated by means of public communication, in
     connection with pending or imminent criminal
     litigation with which they are associated, if there is
     a substantial likelihood that such dissemination will


                                  34
     interfere with a fair trial or otherwise prejudice the
     due administration of justice.

A later section of the Local Rule — 23.1(d) — establishes a

presumption of impropriety for certain types of statements.

Specifically, statements concerning “the character or reputation

of the accused,” and “any opinion as to the accused’s guilt or

innocence,” “presumptively involve a substantial likelihood that

their public dissemination will interfere with a fair trial or

otherwise prejudice the due administration of justice.”   L.

Crim. R. 23.1(d)(1), (7).

            In contrast to that presumption, the following section

— Rule 23.1(e) — sets forth a safe harbor of sorts.    Under that

section, statements concerning the “nature, substance or text of

the charge” receive the opposite presumption — that they do not

present a substantial likelihood of interfering with a fair

trial.   L. Crim. R. 23.1(e).   Still, the “prejudicial effect of

otherwise improper comments is [not] magically dispelled by

sprinkling the words ‘allege(d)’ or ‘allegation(s)’ liberally

throughout the press conference or speech, or inserting a

disclaimer that the accused is ‘innocent unless and until proven

guilty.’”    United States v. Silver, 103 F. Supp. 3d 370, 378

(S.D.N.Y. 2015).

            Finally, Rule 23.1(h) speaks to remedies: the court

“may issue a special order governing such matters as


                                 35
extrajudicial statements by parties and witnesses likely to

interfere with the rights of the accused to a fair trial by an

impartial jury . . . and any other matters which the court may

deem appropriate for inclusion in such order.”           L. Crim. R.

23.1(h).    As discussed below, however, Rule 23.1(h) requires

district courts to make a finding of necessity before entering

such a remedy.

            Watson also invokes New York’s ethical rules and the

DOJ’s internal regulations.       But the Local Criminal Rules best

guide the inquiry here.       District courts generally do not police

state ethics rules; those determinations are instead reserved

for disciplinary proceedings. 16      And the DOJ manual does not, by

its terms, confer any third-party rights.

            In applying the Local Criminal Rules, the Court

remains mindful of the critical inquiry: whether the press

release “has compromised this criminal proceeding and the future

trial.”    United States v. Corbin, 620 F. Supp. 2d 400, 411

(E.D.N.Y. 2009).




      16See, e.g., United States v. Woodberry, 546 F. Supp. 3d 180, 187
(E.D.N.Y. 2021) (“Defendant’s argument that the Press Release and Statement
violated New York Rule of Professional Conduct 3.6(a) is immaterial to the
motion before the Court.”); Silver, 103 F. Supp. 3d at 376 (“[T]he Court
notes that this is not a disciplinary proceeding and therefore the question
of whether the U.S. Attorney’s extrajudicial remarks violated any ethical
rules is not, per se, before the Court.”).

                                      36
C.   Discussion

            As noted above, statements concerning the “nature,

substance or text of the charge” are presumptively proper under

the Local Rule.   L. Crim. R. 23.1(e) (emphasis added).

Statements concerning the character, reputation, and guilt or

innocence “of the accused,” on the other hand, are presumed

substantially likely to interfere with the defendant’s fair-

trial right.   L. Crim. R. 23.1(d)(1), (7) (emphasis added).

     1.     “Con Man”

            The U.S. Attorney’s statement that “Watson is a con

man” is properly located in the second of these two categories,

notwithstanding the government’s protest that it merely used

“colloquial[]” shorthand to describe the “nature, substance or

text of the charge.”    See Gov’t Prelim. Mot. Opp’n 17–18, ECF

No. 39 (characterizing Watson’s motion as a “quibble[] over word

choice”).   If nothing else, the government’s verb selection

makes it plain that the sentence is directed at the man being

charged, rather than the conduct alleged.   This is precisely

what the Local Rule is calculated to avoid.

            The two supporting cases cited by the government —

Woodberry and Smith — do not compel a different conclusion.      The

Smith press release referred to conduct rather than character in

its statement that the charges reflected an “unappetizing

smorgasbord of graft and greed” and a “show me the money”

                                 37
culture of corruption.    Even if it was “hard to find . . . any

compelling law-enforcement purpose” for these statements, they

did not “by themselves” “constitute opinions as to the

Defendants’ guilt.”     United States v. Smith, 985 F. Supp. 2d

506, 539 (S.D.N.Y. 2013).    “The same [was] true” for the

statement that the defendant “‘quarterbacked’ the scheme,” which

characterized his alleged role in the alleged and charged

conspiracy.   See id.    Similarly, the terms at issue in Woodberry

— “spree” and “unprecedented” — were used to “describe six

separate incidents of robberies or attempted robberies” in a

short span of time and therefore commented only on the charges,

not the defendant.    546 F. Supp. 3d at 188.

          Therefore, these statements presumptively involve a

substantial likelihood that their public dissemination will

interfere with a fair trial or otherwise prejudice the

proceeding.   See L. Crim. R. 23.1(d)(1), (7).

     2.   “Corrupt Executives” and “Flagrant” Violations

          Watson objects next to the statement that “prosecuting

corporations and their corrupt executives who flagrantly violate

the law are top priorities.”    Def. Apr. 7, 2023 Reply 10.

Despite being styled as a statement of law-enforcement

priorities, rather than a comment on the defendants themselves,

this language (and its placement) directly implies that Watson’s

and Ozy’s indictment reflects these priorities in action.

                                  38
Accordingly, this statement, too, walks the line between

legitimate and illegitimate commentary.

          In several cases, courts have expressed concern

regarding statements “that appeared to bundle together unproven

allegations regarding the Defendant with broader commentary” on

societal ills and criminal conduct.    See, e.g., Silver, 103 F.

Supp. at 378–79.   In Smith, for example, the U.S. Attorney

referred to “dirty” and “corrupt” politicians being “hauled off

to prison” during press conference announcing charges against

defendants for fraud and bribery.    985 F. Supp. 2d at 540.

Given that timing and those contextual links, the court noted,

listeners might reasonably “interpret the statements at the

press conference, taken in their entirety, as holding Defendants

out as the latest examples of ‘dirty’ and ‘corrupt’ politicians

who will be ‘hauled off to prison’ in the broad-scale efforts to

combat corruption and, therefore, to be a comment on the guilt

of Defendants.”    Id.

          The press release here raises similar concerns: In the

same paragraph that the U.S. Attorney describes Watson as a “con

man,” the statement references a “broader pattern of recognized

wrongdoing,” see Silver, 103 F. Supp. 3d at 379 — in Watson’s

case, “corrupt executives who flagrantly violate the law.”     As a

result, “it would not be irrational” for some to interpret the



                                39
press release as improperly commenting on Watson’s guilt.      See

Smith, 985 F. Supp. 2d at 540.

       3.   “Criminal Organization”

            Finally, Watson objects to the press release’s

reference to his having “[run] Ozy as a criminal organization.”

Def. Apr. 7, 2023 Reply 8–10.    This statement may be

gratuitously hyperbolic: even if the Court was to presume,

solely for the sake of argument, that all of the grand jury’s

allegations are true, Ozy was not a Cosa Nostra family.      Indeed,

the Indictment describes Ozy Media as a business engaged in

actual content dissemination: it “was a media and entertainment

company whose businesses included digital newsletters,

television production, podcasts and live events.”    Indictment

¶ 1.    This statement is somewhat less troubling than the ones

discussed above, however, as it describes the company, rather

than a person, and the grand jury did indict Ozy itself along

with Watson.

       4.   Interference with a Fair Trial

            Accordingly, under Rule 23.1(d), the press release

statements at issue presumptively involve a substantial

likelihood that their public dissemination will interfere with a

fair trial or otherwise prejudice the proceeding.   The Court

declines to decide, at this time, whether a “special order” is

necessary to ensure an impartial jury, or whether “less extreme

                                 40
available remedies” may “effectively mitigate” any prejudicial

effect of this pretrial publicity.      See L. Crim. R. 23.1(h).   In

the meantime, the government is advised to consider whether it

wishes to excise or modify the language in light of the

discussion above.    The Court will consider the viability of

alternative remedies under Rule 23.1(h) as the case approaches

jury selection.

                                  Conclusion

             For the foregoing reasons, Watson’s motion to suppress

is denied.    The Court reserves decision on his request for the

removal or modification of the press release.

             SO ORDERED.



                                    /s/ Eric Komitee__________
                                  ERIC KOMITEE
                                  United States District Judge


Dated:       November 6, 2023
             Brooklyn, New York




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